                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                      CIVIL ACTION NO.: 1:11-CV-10051-PBS

JAMES WADE,                                    )
                       Plaintiff               )
v.                                             )
                                               )
UNITED STATES OF AMERICA, and                  )
DONNA DENESE ATHERTON, MSW                     )
                Defendants.                    )
________________________________               )

         PLAINTIFF, JAMES WADE’S MOTION FOR DEFAULT JUDGMENT
           AGAINST DEFENDANT, DONNA DENESE ATHERTON, MSW

       Upon the issuance of a Notice for Default [D.E. 26], entered by the Court on June 19,

2012, the Plaintiff respectfully asks the Court to enter a Default Judgment against Defendant

Donna Denese Atherton, MSW (hereinafter “Defendant Atherton”) in the above-captioned case

pursuant to F.R.C.P. 55. The Plaintiff requests a hearing for the Court to determine the amount

of damages, pursuant to F.R.C.P. 55(b)(33)(B).


                                              Factual History


       At all times relevant hereto, the Plaintiff, James Wade was treating at Roxbury

Comprehensive Community Health Center (hereinafter “RoxComp”), a Federally Supported Health

Center, pursuant to the Federally Supported Health Care Center Assistance Act of 1992 (Pub. L.102-

501), operating today and at all times relevant hereto, as a health center which conducted a

Methadone Assessment and Treatment (“MAT”) program in Boston, Massachusetts. While a patient

at RoxComp, the Plaintiff submitted a request for an out-of-state courtesy dose form in order to

attend a family event in Georgia. On or about July 30, 2009, Defendant Atherton completed the dose

form for the Plaintiff, signed his name to the form without his permission, and incorrectly identified
him as being HIV positive. As a result of the highly sensitive information being transmitted to

another facility, and being incorrect, the Plaintiff has suffered and continues to suffer from

depression, anxiety, and loss of sleep. The Plaintiff also suffered from a fear that he actually was

HIV positive and had not been told so.

                                              Procedural History

        On January 10, 2011, the Plaintiff filed a Complaint [D.E. 1] against the United States of

America for the acts committed by both RoxComp and Defendant Atherton. The United States

denied that Defendant Atherton was an employee, and instead claimed that she was an independent

contractor. A Motion to Amend the Complaint to add Defendant Atherton as a party was filed with

the Court [D.E. 21] on February 29, 2012 and granted on March 30, 2012. Upon the granting of the

Motion, the Plaintiff served upon Defendant Atherton the Amended Complaint [D.E. 22], and a

Return of Service was filed with the Court on April 24, 2012 [D.E.24]. Although representations

were made that an Answer would be filed, none was filed. On June 19, 2012, the Court, upon the

request of the Plaintiff, entered a Notice of Default against Defendant Atherton [D.E. 26].

        There is no dispute as to the courtesy dose form being signed by Defendant Atherton, that

Mr. Wade was incorrectly identified on the form as being HIV positive and the form was sent to a

facility in Georgia.

        WHEREFORE, the Plaintiff, JAMES WADE, respectfully requests that the Court hold a

hearing to determine the amount of damages based on the injuries suffered by the Plaintiff as a result

of the forgery of his signature to a document that falsely identified him as having a positive HIV

status and grant such other and further relief as it deems just and proper.
Respectfully submitted,



JAMES WADE, Plaintiff,
By his attorney,

/s/: Ross Annenberg____________
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.

Served by ECF to:
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Served by mail and Certified Mail to:
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Dated: July 16, 2012                          /s/: Ross Annenberg____________
                                              Ross Annenberg, Esquire
